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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


   CHARLOTTE BARK,
                                                  Civil Action No. 1:21-cv-07054-UA
                        Plaintiff,

          v.


   W.R. GRACE & CO., ROBERT F.
   CUMMINGS, JR., DIANE H. GULYAS,
   JULIE FASONE HOLDER, HUDSON
   LA FORCE, HENRY R. SLACK,
   CHRISTOPHER J. STEFFEN, MARK
   TOMKINS, and SHLOMO YANAI,


                        Defendants.


                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff

Charlotte Bark hereby voluntarily dismisses her claims in the above-captioned action (the

“Action”). Defendants have filed neither an answer nor a motion for summary judgment in the

Action.

Dated: September 17, 2021                               Respectfully submitted,

                                                        By: /s/ Joshua M. Lifshitz
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